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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 AYMAN SAIED JOUMAA,

                   Plaintiff,

          v.                                       Civil Action No. 17-2780 (TJK)

 STEVEN MNUCHIN, et al.,

                   Defendants.


                        DEFENDANTS’ MOTION TO DISMISS
               OR, IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT

       Defendants Steven Mnuchin, in his official capacity as Secretary of the U.S. Department

of the Treasury, and the U.S. Department of the Treasury, Office of Foreign Assets Control, by

and through undersigned counsel, hereby move for dismissal pursuant to Rules 12(b)(1) and

12(b)(6) of the Federal Rules of Civil Procedure or, in the alternative, for summary judgment

pursuant to Rule 56 of the Federal Rules of Civil Procedure. In support of this motion,

Defendants submit the accompanying Memorandum and proposed Order.

       Dated April 20, 2018                         Respectfully submitted,

                                                    CHAD A. READLER
                                                    Acting Assistant Attorney General

                                                    JOHN R. GRIFFITHS
                                                    Branch Director

                                                    DIANE KELLEHER
                                                    Assistant Branch Director

                                                    /s/Stuart J. Robinson
                                                    STUART J. ROBINSON
                                                    Trial Attorney
                                                    United States Department of Justice
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